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4

5
     Attorney for Defendant
     NAVPREET SINGH
6
                            IN THE UNITED STATES DISTRICT COURT
7
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,                      )       No. CR-S-10-347 MCE
10
                                                    )
                                                    )
            Plaintiff,                              )       STIPULATION AND ORDER
11
                                                    )       CONTINUING STATUS CONFERNCE
     v.                                             )
12
                                                    )
     DISHAN PERERA et al.,                          )       Date: February 23, 2012
13
                                                    )       Time: 9:00 a.m.
14
                                                    )       Judge: Hon. Morrison C. England, Jr.
            Defendants.                             )
                                                    )
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                                                    )
                                                    )
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                    IT IS HEREBY stipulated between the United States of America through its
19
     undersigned counsel, Todd D. Leras, Assistant United States Attorney, together with counsel for
20
     defendant Dishan Perera, Alan Baum, Esq., counsel for defendant Jeremy Gachago, Michael L.
21
     Chastaine, Esq., counsel for defendant Ramiro Garcia, Christopher R. Cosca, Esq., counsel for
22
     defendant Love Deep Singh Sidhu, Christopher Haydn-Myer, Esq., counsel for defendant
23
     Leonard Woodfork, Olaf W. Hedberg, Esq., counsel for defendant Jason Cavileer, Dan F.
24
     Koukol, Esq., counsel for defendant Michael Tran, Michael D. Long, Esq., counsel for defendant
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26
     Navpreet Singh, John R. Manning, Esq., counsel for defendant Imesh Perera, Mark Waecker,

27   Esq., counsel for defendant Navjot Singh, Mark J. Reichel, Esq., and counsel for defendant

28   Torey Moore, Shari Rusk, Esq., that the status conference presently set for January 5, 2012 be



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1    continued to February 23, 2012, at 9:00 a.m., thus vacating the presently set status
2    conference.
3           Further, all of the parties, the United States of America and all of the defendants as stated
4    above, hereby agree and stipulate that the interests of justice served by granting this continuance
5    outweigh the best interests of the defendants and the public in a speedy trial and that time under
6    the Speedy Trial Act should be excluded under Title 18, United States Code Section
7    3161(h)(7)(A) and (B)(ii) and (iv), corresponding to Local Codes T-2 (unusual or complex case)
8    and T-4 (to allow defense counsel time to prepare) from the date of the parties’ stipulation,
9    January 3, 2012, to and including February 23, 2012. This is based on the complexity of the case;
10   including voluminous discovery and the fact there are eleven co-defendants. The defense
11   requests more time to review discovery, conduct investigation and engage in negotiations with
12   the government.
13   IT IS SO STIPULATED
14   Dated: December 27, 2011                             /s/ Alan Baum
15                                                        ALAN BAUM
                                                          Attorney for Defendant
16                                                        Dishan Perera
17   Dated: December 27, 2011                             /s/ Michael L. Chastaine
                                                          MICHAEL L. CHASTAINE
18
                                                          Attorney for Defendant
19                                                        Jeremy Gachago

20
     Dated: December 27, 2011                             /s/ Christopher R. Cosca
                                                          CHRISTOPHER R. COSCA
21                                                        Attorney for Defendant
                                                          Ramiro Garcia
22
     Dated: December 27, 2011                             /s/ Christopher Haydn-Myer
23
                                                          CHRISTOPHER HAYDN-MYER
24                                                        Attorney for Defendant
                                                          Love Deep Singh Sidhu
25
     Dated: December 27, 2011                             /s/ Olaf W. Hedberg
26                                                        OLAF W. HEDBERG
                                                          Attorney for Defendant
27
                                                          Leonard Woodfork
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1    Dated: December 27, 2011                 /s/ Dan F. Koukol
                                              DAN F. KOUKOL
2
                                              Attorney for Defendant
3                                             Jason Cavileer

4    Dated: December 27, 2011                 /s/ Michael D. Long
                                              MICHAEL D. LONG
5                                             Attorney for Defendant
                                              Michael Tran
6

7    Dated: December 27, 2011                 /s/ John R. Manning
                                              JOHN R. MANNING
8                                             Attorney for Defendant
9
                                              Navpreet Singh

10   Dated: December 27, 2011                 /s/ Mark Waecker
                                              MARK WAECKER
11                                            Attorney for Defendant
12
                                              Imesh Perera

13   Dated: December 27, 2011                 /s/ Shari Rusk
                                              SHARI RUSK
14
                                              Attorney for Defendant
15                                            Torey Moore

16   Dated: December 27, 2011                 /s/ Mark J. Reichel
                                              MARK J. REICHEL
17
                                              Attorney for Defendant
18                                            Navjot Singh

19

20
     Dated: December 27, 2011                 Benjamin B. Wagner
21                                            United States Attorney

22
                                              by: /s/ Todd D. Leras
23
                                              TODD D. LERAS
24                                            Assistant United States Attorney

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3                                                            ORDER
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5                           GOOD CAUSE APPEARING, it is hereby ordered that the January 5, 2012 status
6    conference be continued to February 23, 2012 at 9:00 a.m. I find that the ends of justice warrant
7    an exclusion of time and that the defendant’s need for continuity of counsel and reasonable time
8    for effective preparation exceeds the public interest in a trial within 70 days. THEREFOR IT IS
9    FURTHER ORDERED that time be excluded pursuant to 18 U.S.C. § 3161 (h) (7) (B) (iv) and
10   Local Code T4 from the date of this order to February 23, 2012.
11                          IT IS SO ORDERED.
12
     Dated: January 4, 2012
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14                                                        __________________________________
                                                          MORRISON C. ENGLAND, JR
15                                                        UNITED STATES DISTRICT JUDGE
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17   DEAC_Signatu re-END:




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